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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

               ORDER GRANTING RECEIVER RYAN K. STUMPHAUZER’S
              THIRD APPLICATION FOR ALLOWANCE AND PAYMENT OF
             PROFESSIONALS’ FEES AND REIMBURSEMENT OF EXPENSES
                      FOR JANUARY 1, 2021 – MARCH 31, 2021

         THIS CAUSE comes before the Court upon Receiver Ryan K. Stumphauzer’s Third

  Application for Allowance and Payment of Professionals’ Fees and Reimbursement of Expenses

  for January 1, 2021 – March 31, 2021 [ECF No. 589] (“Application”), filed on May 17, 2021.

  The Court has reviewed the Application and Defendants’ Objection to the Application [ECF No.

  601] and is otherwise fully advised.

         This is a complex receivership involving the operation of a merchant cash advance business

  with a current receivable balance of over $400 million, and a group of investors that are seeking,

  collectively, more than $300 million dollars from the company.            The Receiver and his

  professional team are managing numerous operational issues involving more than 1,300 merchants

  that are parties to merchant cash advance agreements with Par Funding.      The Application and

  records submitted by the Receiver reflect that the Receiver and his professional team have

  reasonably and diligently discharged their duties.
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         The Receiver’s tasks in this case have included negotiating with Par Funding’s merchants

  in an effort to reach settlements of MCA account balances; investigating entities and assets that

  the individual Defendants obtained or capitalized with proceeds from the operations of the

  Receivership Entities and moving to expand the Receivership to include certain of these entities

  and assets; assuming responsibilities over various residential and commercial properties;

  responding to issues and document requests related to pending litigation and investigations

  involving the Receivership Entities; communicating with the Defendants and responding to

  discovery requests; and drafting status reports for the Court.

         In performing these tasks, among others, the Receiver and his professional team have

  provided a significant benefit to the receivership estate, investors, and creditors at rates that the

  Court finds reasonable.     Indeed, at a status conference the Court held on May 20, 2021, the

  Receiver and his counsel indicated that the Receiver’s efforts have resulted in recovery of

  approximately $100 million.

         Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Application [ECF No. 589] is GRANTED as

  follows:

         Professional Fees:      $2,322,620.00

         Expenses:               $57,491.00

         TOTAL:                  $2,380,111.00

         DONE AND ORDERED in Fort Lauderdale, Florida, this 1st day of June, 2021.



                                                          _________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE




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